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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


 SECURITYPROFILING, LLC,

                    Plaintiff,                   Civil Action No. 6:24-cv-96-ADA

                   v.
                                                 JURY TRIAL DEMANDED
 ZOHO CORPORATION

                   Defendant.

 UNOPPOSED NOTICE FOR EXTENSION OF TIME TO ANSWER TO COMPLAINT

        Plaintiff, SecurityProfiling, LLC, agreed to provide Defendant, Zoho Corporation, with a

thirty (30) day extension of time within which to answer Plaintiff’s Complaint for Patent

Infringement (Dkt. No. 1). With this extension, Defendant’s answer is due on or before May 15,

2024.


Dated: April 11, 2024                       BUSS & BENEFIELD, PLLC

                                                   By: /s/ Michael A. Benefield
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                                CERTIFICATE OF SERVICE


       I hereby certify that on April 11, 2024, a copy of the foregoing document was filed

electronically using the Court’s ECF system. Service of this filing will therefore be made

electronically on all ECF-registered counsel of record via email generated by the Court’s ECF

system. I also certify that on April 11, 2024, the foregoing document was serve by email on counsel

for Defendant, as follows:

               Mr. Ryan Marton, ryan@martonibera.com
               Mr. Phil Haack, phaack@martonibera.com

                                                     /s/ Michael A. Benefield
                                                     Michael A. Benefield
                                                     Counsel for Plaintiff
